Case 1:21-cv-20521-BB Document 76-22 Entered on FLSD Docket 03/07/2022 Page 1 of 2
                                                                                        Jonathan J. Brennan
                                                                                        DIRECT 646.609.9299
                                                                                        EMAIL jbrennan@maynardcooper.com



                                                    October 23, 2020


  By FINRA DR Portal

  Lisa Lasher, FINRA Case Administrator
  FINRA Dispute Resolution
  Boca Center Tower 1
  5200 Town Center Circle, Suite 200
  Boca Raton, FL 33486

            Re: Beverley B. Schottenstein v. J.P. Morgan Securities, LLC, et al.
                (FINRA Dispute Resolution Case No. 19-02053)

  Dear Ms. Lasher:

           Respondents Evan and Avi Schottenstein (“Respondents”) are in receipt of your letter of
  yesterday evening enclosing Arbitrator James Scutti’s Additional Disclosure. As you know, at the
  close of yesterday’s afternoon hearing session, Claimant’s counsel informed the Panel that he intended
  to call his expert witness, Frank Norwitch, in this afternoon’s hearing session. Thereafter, Arbitrator
  Scutti disclosed to the parties that he had a previous working relationship with Claimant’s witness, Mr.
  Norwitch. Arbitrator Scutti disclosed that in a previous arbitration where he served as claimant’s
  counsel, he had retained Mr. Norwitch as an expert witness on behalf of his client. To explain this
  late disclosure, Arbitrator Scutti states that he did not receive the Claimant’s Exhibit List or Witness
  List, which would have notified him of Claimant’s intention to call Mr. Norwitch as a witness. Based
  on Arbitrator Scutti’s past relationship with Claimant’s expert witness Mr. Norwitch and Arbitrator
  Scutti’s late disclosure of this conflict and pursuant to FINRA Rules 12405 and 12407, Respondents
  object to Arbitrator Scutti serving on the Panel in this matter and request that Arbitrator Scutti be
  removed.

           Pursuant to FINRA Rule 12405, arbitrators “must disclose to the Director, any circumstances
  which might preclude the arbitrator from rendering an objective and impartial determination in the
  proceeding, including: . . . (2) Any existing or past financial, business, professional, family, social, or
  other relationships or circumstances with any party, any party's representative, or anyone who the
  arbitrator is told may be a witness in the proceeding, that are likely to affect impartiality or might
  reasonably create an appearance of partiality or bias.” Clearly, Arbitrator Scutti has a past relationship
  with Mr. Norwitch that should have been disclosed well in advance of the evidentiary hearing.
  Arbitrator Scutti’s previous engagement of Mr. Norwitch as an expert witness on behalf of his own
  client in a previous arbitration is reasonably likely to affect his impartiality and certainly “create[s] an
  appearance of partiality or bias.”

         Moreover, the timing of Arbitrator Scutti’s disclosure is particularly concerning. Claimant’s
  counsel has indicated that Mr. Norwitch could be testifying as early as today, October 23, 2020.
  Respondents were notified of Arbitrator Scutti’s conflict of interest late yesterday evening (October
  22, 2020). While Respondents appreciate that Arbitrator Scutti has disclosed his previous work with


      The Fred F. French Building / 551 Fifth Avenue, Suite 2000 / New York, NY 10176 / 646.609.9280 / maynardcooper.com
Case 1:21-cv-20521-BB Document 76-22 Entered on FLSD Docket 03/07/2022 Page 2 of 2
  October 23, 2020
  Page 2

  Mr. Norwitch to the parties, and while we further understand that the failure to timely disclose this
  conflict was not entirely Mr. Scutti’s fault (FINRA had an obligation under its rules to provide Mr.
  Scutti a copy of Claimant’s Witness List prior to the start of the hearing, but Mr. Scutti also has an
  obligation to review that list prior to the start of the hearing and should have realized FINRA’s error),
  that disclosure does not change the prejudice to Respondents. Nor does this fact dispel Respondents’
  concerns about partiality and bias. To the extent that FINRA failed to provide Arbitrator Scutti with
  Claimant’s 20-Day Witness List and Mr. Scutti failed to recognize that he had not complied with his
  obligations prior to the start of the hearing, Respondents should not be forced to shoulder the burden
  of this oversight.

          FINRA Rule 12407 provides that “[a]fter the first hearing session begins, the Director may
  remove an arbitrator based only on information required to be disclosed under Rule 12405 that was
  not previously known by the parties.” Arbitrator Scutti’s previous working relationship with
  Claimant’s witness was information required to be disclosed to all parties by FINRA Rule 12405 prior
  to the start of the hearing. Accordingly, Respondents object to Arbitrator Scutti continuing to serve
  on this Panel and request that he be removed immediately.

                                                          Sincerely,


                                                          /s/ Jonathan J. Brennan
                                                          Jonathan J. Brennan




  cc:     Scott C. Ilgenfritz, Esq. (by FINRA Portal)
          Gabrielle L. Gould, Esq. (by FINRA DR Portal)
